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                                             13
                                             14 Attorneys for Plaintiff Jane Roe
                                             15
                                                                     UNITED STATES DISTRICT COURT
                                             16                    CENTRAL DISTRICT OF CALIFORNIA
                                                JANE ROE,
                                             17                                     Case No. 2:24-cv-09462-MWF-AJR
                                             18              Plaintiff,                   DECLARATION OF JEANNE M.
                                             19                                           CHRISTENSEN IN OPPOSITION
                                                                                          TO DEFENDANT’S MOTION TO
                                             20                                           DISMISS
                                                       vs.
                                             21                                           District Court Judge: Michael W.
                                                                                          Fitzgerald
                                             22 GARTH BROOKS,                             Magistrate Judge: A. Joel Richlin
                                             23         Defendant.                        Hearing Date: December 9, 2024
                                                                                          Hearing Time: 10:00am
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                                             27
                                             28                                                      OPPOSITION TO MOTION TO DISMISS
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                                              1 I, Jeanne M. Christensen, declare as follows:
                                              2         1.    I am a partner at Wigdor LLP, attorneys of record for Plaintiff Jane
                                              3
                                                  Roe (“Plaintiff or “Mrs. Roe.”). I make this declaration in opposition to Defendant
                                              4
                                              5 Garth Brooks’ Motion to Dismiss the Complaint.
                                              6         2.    I also am counsel for Mrs. Roe in the action John Doe v. Jane Roe,
                                              7
                                                  3:24-cv-547-HTW-LGI, in the U.S. District Court for the Southern District of
                                              8
                                              9 Mississippi, Northern Division (hereinafter the “Mississippi Action”).
                                             10         3.    As Exhibit 1, I attach a copy of the Docket Report for the Mississippi
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                                                  Action that is current through November 22, 2024.
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                                                        4.    As Exhibit 2, I attach a copy of the initiating complaint filed by
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                                             13
                                             14 Brooks in the Mississippi Action on September 13, 2024, ECF 1.
                                             15
                                                     5.       As Exhibit 3, I attach a copy of the initiating complaint filed by Mrs.
                                             16
                                             17 Roe on October 3, 2024, in California Superior Court, Los Angeles County, Index
                                             18 24STCV25693, (the “California Action”).
                                             19
                                                       6.    On October 18, 2024, the court in the Mississippi Action ordered that
                                             20
                                             21 the record be sealed. See Ex. 1, Minute Entries on 10/18/2024 and 10/21/2024.
                                             22         7.    Counsel for Mrs. Roe will be seeking leave from the Hon. Henry T.
                                             23
                                                  Wingate for permission to send in camera to this Court, the copies of the amended
                                             24
                                             25 complaints and the relevant motions, declarations and memoranda of law referenced
                                             26 in Mrs. Roe’s Opposition herein.
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                                             28                                                           OPPOSITION TO MOTION TO DISMISS
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                                              1         8.     On October 8, 2024, Brooks filed his amended complaint in the

                                              2 Mississippi Action, and removed “Jane Roe” in the caption and used Mrs. Roe’s
                                              3
                                                  full name. It is on the sealed docket as ECF 17.
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                                              5         9.     On November 1, 2024, Brooks filed his second amended complaint

                                              6 (“SAC”) in the Mississippi Action. The SAC simply omitted any references to the
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                                                  declaratory judgment act and dropped the grounds for a justiciable controversy
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                                              9 under 28 USC § 2201 as if the court would not notice. The SAC is on the sealed
                                             10 docket as ECF 25.
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                                                      10. On November 4, 2024, in the Mississippi Action, Mrs. Roe submitted
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                                             13 a motion, supporting Declaration, attaching exhibits, and a memorandum of law in
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                                             14 Support of her Omnibus Motion to Dismiss the Complaint, for Judgment on the
                                             15
                                                Pleadings or in the Alternative to Transfer the Action Pursuant to 28 U.S.C. §
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                                             17 1404(a) (the “Omnibus Motion”). These filings were filed on the sealed docket as
                                             18 ECF 30, 31, and 32.
                                             19
                                                      11. Thereafter the court permitted Brooks to re-file his SAC, and he filed a
                                             20
                                             21 (second) SAC on November 15, 2024. This is on the sealed docket as ECF 33.
                                             22         12.    The (second) SAC is the same as the (first) SAC except Brooks
                                             23
                                                  removed named Defendants John Does 1-10.
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                                              1         13.   Thereafter the court instructed Mrs. Roe to re-file her Omnibus Motion,

                                              2 which she did on November 18, 2024. These filings are on the sealed docket as ECF
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                                                  34-36.
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                                              5         14.   The Declaration of Hayley Baker is attached as Exhibit 4.

                                              6         15.   On November 15, 2024, the court instructed the parties that Brooks’
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                                                  response to the Omnibus Motion is due on December 6, 2024 and Mrs. Roe’s reply
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                                              9 deadline is December 13, 2024.
                                             10         16.   This past week, Brooks has been attempting to schedule a Rule 26(f)
                                             11
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                                                  conference in the Mississippi Action. He is doing this knowing that there is a
                                             12
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                                             13 briefing schedule that will conclude on December 13, 2024 for the Omnibus Motion.
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                                             14         17.   Counsel for Mrs. Roe will be requesting from the court that discovery
                                             15
                                                  is stayed pending resolution of the Omnibus Motion.
                                             16
                                             17         18.   I declare under penalty of perjury under the laws of the State of New
                                             18 York that the foregoing is true and correct.
                                             19
                                             20 Executed this November 22, 2024 at New York, New York.
                                             21                                                By:_________________
                                             22                                                    Jeanne M. Christensen
                                             23                                                    Attorney for Plaintiff Jane Roe
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                                             28                                                          OPPOSITION TO MOTION TO DISMISS
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